Case 1:18-cv-10491-TLL-PTM ECF No. 16 filed 08/03/18           PageID.56   Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

MICHAEL MILES,                                )
                                              )
                                              )
                           Plaintiff,         )
                                              ) Case No. 1:18-cv-10491
        vs.                                   )
                                              ) Hon. Thomas L. Ludington
OSPREY OTSEGO                                 ) Mag. Judge Patricia T. Morris
                                              )
PROPERTIES, L.L.C.,                           )
A Michigan limited liability company
and MISSION POINT OTSEGO
OPERATING, LLC, a Michigan
limited liability company,

                           Defendants.

                                         STIPULATION
        Pursuant to a Confidential Release and Settlement Agreement entered into

between the parties, the parties stipulate that this case may be dismissed with

prejudice and without costs or attorney fees.

                                                 Respectfully submitted,

/s/ Owen B. Dunn Jr.                           /s/ Kevin A. Fanning
Owen B. Dunn Jr. (P66315)                      Kevin A. Fanning (P57125)
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Counsel for Plaintiff




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Case 1:18-cv-10491-TLL-PTM ECF No. 16 filed 08/03/18                                            PageID.57   Page 2 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

MICHAEL MILES,                                                   )
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                           Plaintiff,                            )
                                                                 ) Case No. 1:18-cv-10491
        vs.                                                      )
                                                                 ) Hon. Thomas L. Ludington
OSPREY OTSEGO                                                    ) Mag. Judge Patricia T. Morris
                                                                 )
PROPERTIES, L.L.C.,                                              )
A Michigan limited liability company
and MISSION POINT OTSEGO
OPERATING, LLC, a Michigan
limited liability company,

                           Defendants.

                                                         ORDER

        Pursuant to the above Stipulation,

        It is ORDERED that this matter is DISMISSED with prejudice and

without costs or attorney fees.



        Dated: August 3, 2018                                                     s/Thomas L. Ludington
                                                                                  THOMAS L. LUDINGTON
                                                                                  United States District Judge




                                                     PROOF OF SERVICE

                            The undersigned certifies that a copy of the foregoing order was served
                            upon each attorney or party of record herein by electronic means or first
                            class U.S. mail on August 3, 2018.

                                                              s/Kelly Winslow
                                                              KELLY WINSLOW, Case Manager




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